     Case 4:24-cv-01270   Document 25    Filed on 11/22/24 in TXSD   Page 1 of 1
                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                     IN THE UNITED STATES DISTRICT COURT                November 22, 2024
                      FOR THE SOUTHERN DISTRICT OF TEXAS                 Nathan Ochsner, Clerk
                               HOUSTON DIVISION



DHI HOLDINGS, LP,                         §
                                           §
                     Plaintiff,           §
                                          §
V.                                        §
                                          §
DEUTSCHE BANK NATIONAL TRUST              §
CO., as Trustee for MORGAN                §        CIVIL ACTION NO. H-24-1270
STANLEY ABS CAPITAL I INC.                §
TRUST 2006-HE3, MORTGAGE                  §
PASS-THROUGH CERTIFICATES,                §
SERIES 2006-HE3, and                      §
SPECIALIZED LOAN SERVICING LLC,           §
                                          §
                    Defendants.           §



                                  FINAL JUDGMENT



         In accordance with the court's Order granting Defendants'

Motion to Dismiss Plaintiff's Complaint Without Prejudice,                        this

action is DISMISSED without prejudice.

        Costs will be taxed against the Plaintiff.

        This is a FINAL JUDGMENT.

        SIGNED at Houston, Texas, on this 22nd day of November, 2024.




                                                     SIM LAKE
                                        SENIOR UNITED STATES DISTRICT JUDGE
